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 6   Attorney for Defendant
     ZOYA BELOV
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       )       No. 08-CR-427-MCE
                                                     )
                                                     )       STIPULATION AND
12          Plaintiff,                               )       ORDER CONTINUING CASE
13                                                   )
     v.                                              )
14                                                   )       Date: January 9, 2014
     ZOYA BELOV.                                     )       Time: 9:00am.
15                                                   )       Judge: Honorable Morrison C. England
                                                     )
16
            Defendant.                               )
                                                     )
17                                                   )
                                                     )
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19          IT IS HEREBY STIPULATED by and between the parties hereto through their

20   respective counsel, Phil Ferrari, Assistant United States Attorney, attorney for plaintiff and Kyle

21   Knapp, attorney for defendant, ZOYA BELOV, that the current hearing date of December 5,

22   2013 be vacated and the matter be re-set for January 9, 2014 at 9:00 am. Good cause for the

23   continuance is due to the need to address the probation impacts of her cooperation in this matter

24   and to afford counsel additional time to provide mitigation evidence and materials to probation.

25   Dated: November 26, 2013                                        Respectfully submitted.
26
                                                                      /s/ Kyle R. Knapp
27                                                                  Kyle R. Knapp
                                                                    Attorney for Defendant, Zoya Belov
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     Dated: November 26, 2013                                 Respectfully submitted.
 1

 2                                                              /s/ Phil Ferrari
                                                              Phil Ferrari
 3                                                            Assistant U.S. Attorney
                                                              Attorney for Plaintiff
 4

 5                                              ORDER

 6          GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties, the
 7
     December 5, 2013 hearing is vacated and the matter is re-set for judgment and sentencing on
 8
     January 9, 2014 at 9:00am.
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10
            IT IS SO ORDERED.

11   Dated: December 3, 2013
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